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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                    8:15CR20
                      Plaintiff,

       vs.
                                                                     ORDER
CRISPIN HERRA-HERRA;
JOSE CONSOSPO-PEREZ; AND
JESUS MUNGUIA-AGUILAR,

                      Defendant.


       This matter comes on before the Court upon the United States= Motion to Dismiss

Forfeiture Allegation (Filing No. 191). The Court reviews the record in this case and, being duly

advised in the premises, finds the United States= Motion should be sustained.

       IT IS THEREFORE ORDERED as follows:

       1. The United States= Motion to Dismiss Forfeiture Allegation is hereby sustained.

       2. The Forfeiture Allegation of the Indictment is hereby dismissed.



       DATED this 14th day of April, 2016.

                                                    BY THE COURT:

                                                    s/ Joseph F. Batillon
                                                    JOSEPH F. BATAILLON
                                                    Senior United States District Judge
